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 16                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 17                            WESTERN DIVISION
 18   PAUL SNITKO, JENNIFER                       Case No. 2:21-cv-04405-RGK-MAR
      SNITKO, JOSEPH RUIZ, TYLER
 19   GOTHIER, JENI VERDON-
      PEARSONS, MICHAEL STORC,
 20   and TRAVIS MAY,
                                                  DECLARATION OF ROBERT
 21                                   Plaintiffs, FROMMER IN SUPPORT OF
                  v.                              PLAINTIFFS’ OPENING BRIEF
 22

 23   UNITED STATES OF AMERICA,
      TRACY L. WILKISON, in her
 24   official capacity as Acting United
      States Attorney for the Central             Judge: Hon. R. Gary Klausner
 25   District of California, and KRISTI          Trial: August 23, 2022
      KOONS JOHNSON, in her official              Complaint Filed: May 27, 2021
 26   capacity as an Assistant Director of        Amended Complaint Filed: June 9, 2021
      the Federal Bureau of Investigation,
 27
                                    Defendants.
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                                  DECLARATION OF ROBERT FROMMER
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  1         I, Robert Frommer, submit the following declaration in support of Plaintiffs’
  2   Opening Brief.
  3         1.     I am an active member of the State Bar of Virginia and a senior
  4   attorney at the Institute for Justice. I am admitted pro hac vice in this proceeding,
  5   and I submit this declaration in support of Plaintiffs’ Opening Brief.
  6         2.     Attached as Exhibit A are excerpts from the FBI’s Sentinel database,
  7   consisting of inventory records obtained during the search and seizure of class
  8   members’ boxes. These records were produced by the United States in the course of
  9   discovery in this action. Because these records contain private information
 10   concerning the contents of box members’ safe-deposit boxes, Plaintiffs have
 11   applied for permission to file an unredacted version of Exhibit A under seal.
 12         3.     Attached as Exhibit B are videos, to be lodged with the clerk for the
 13   Court, showing the inventorying process as to select class members’ safe-deposit
 14   boxes. Each separate video file is marked with a separate exhibit number, such that
 15   the videos are demarcated as Exhibits B.1 through B.8. Because these videos
 16   contain private information concerning the contents of box members’ safe-deposit
 17   boxes, Plaintiffs have applied for permission to file these videos under seal.
 18         4.     Attached as Exhibit C is the FBI Operational Plan for execution of the
 19   seizure warrant at US Private Vaults, which Plaintiffs obtained from the
 20   government in discovery.
 21         5.     Attached as Exhibit D are the Supplemental Instructions for Box
 22   Inventory, which the government created for execution of the seizure warrant at US
 23   Private Vaults. Plaintiffs obtained the Supplemental Instructions from the
 24   government in discovery.
 25         6.     Attached as Exhibit E is a copy of Judge Kim’s seizure warrant for US
 26   Private Vaults, which Plaintiffs obtained from the government in discovery.
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  1         7.     Attached as Exhibit F is a copy of the government’s application for the
  2   seizure warrant for US Private Vaults and the government’s affidavit in support,
  3   which Plaintiffs obtained from the government in discovery.
  4         8.     Attached as Exhibit G is an excerpt from the FBI’s Domestic
  5   Investigations and Operations Guide relating to inventory searches, which Plaintiffs
  6   obtained from the government in discovery.
  7         9.     Attached as Exhibit H is a copy of the FBI claim form that the
  8   government asked class members and other box renters to fill out in seeking the
  9   return of those renters’ property. Plaintiffs obtained this copy of the FBI claim form
 10   by visiting the site forms.fbi.gov/uspvclaims (the address listed in the notice posted
 11   outside of US Private Vaults), which automatically redirected to this form.
 12         10.    Attached as Exhibit I is a copy of an administrative forfeiture notice
 13   sent from the government to the attorney for US Private Vaults. Plaintiffs obtained
 14   this notice from the US Private Vaults website, www.usprivatevaults.com, on June
 15   14, 2021.
 16         11.    Attached as Exhibit J is the deposition transcript of FBI Special Agent
 17   Justin Palmerton, taken by Plaintiffs on April 28, 2022, for use in this action.
 18         12.    Attached as Exhibit K is the deposition transcript of FBI Special Agent
 19   Lynne Zellhart, taken by Plaintiffs on May 6, 2022, for use in this action.
 20         13.    Attached as Exhibit L is the deposition transcript of USPIS Inspector
 21   Lyndon Versoza, taken by Plaintiffs on June 28, 2022, for use in this action.
 22   Though Plaintiffs believe this document should be publicly filed, Defendants have
 23   indicated that they believe it should be filed under seal, and Defendants will submit
 24   a declaration in favor of the same.
 25         14.    Attached as Exhibit M is the deposition transcript of the government’s
 26   first 30(b)(6) representative, Lynne Zellhart, taken by Plaintiffs on June 30, 2022,
 27   for use in this action. Though Plaintiffs believe this document should be publicly
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  1   filed, Defendants have indicated that they believe it should be filed under seal, and
  2   Defendants will submit a declaration in favor of the same.
  3           15.   Attached as Exhibit N is the deposition transcript of DEA Agent Justin
  4   Carlson, taken by Plaintiffs on July 6, 2022, for use in this action. Though Plaintiffs
  5   believe this document should be publicly filed, Defendants have indicated that they
  6   believe it should be filed under seal, and Defendants will submit a declaration in
  7   favor of the same.
  8           16.   Attached as Exhibit O is the deposition transcript of the government’s
  9   second 30(b)(6) representative, Supervisory Special Agent Jessie Murray, taken by
 10   Plaintiffs on July 11, 2022, for use in this action. Though Plaintiffs believe this
 11   document should be publicly filed, Defendants have indicated that they believe it
 12   should be filed under seal, and Defendants will submit a declaration in favor of the
 13   same.
 14           17.   Attached as Exhibit P is a redacted exemplar of the FBI 302 form used
 15   by agents during the inventorying process, which Plaintiffs obtained from the
 16   government in discovery.
 17           18.   Attached as Exhibit Q is a redacted exemplar of the Agents
 18   Observations and Notes form used by agents during the inventorying process,
 19   which Plaintiffs obtained from the government in discovery.
 20           I declare under penalty of perjury under the laws of the United States that the
 21   foregoing is true and correct.
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 23           Executed this 19th day of July, 2022.
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 25
                                              /s/ Robert Frommer
                                              Robert Frommer
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                                 DECLARATION OF ROBERT FROMMER
